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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ARTHUR GREENSTEIN                                §
Plaintiff,                                       §
                                                 §
                                                     CIVIL ACTION NO. 3:15-cv-00699-G
vs.                                              §
                                                 §
                                                     JURY
THE TRAVELERS HOME AND                           §
MARINE INSURANCE COMPANY,                        §
Defendant.                                       §

                                STIPULATION OF DISMISSAL

        Pursuant to Rule 41(1)(A)(ii) Arthur Greenstein (“Plaintiff”), and Defendant The

Travelers Home and Marine Insurance Company (“Travelers”) hereby submit this Stipulation of

Dismissal and would respectfully show this Court as follows:

        1.      The parties reached a settlement regarding all claims asserted by Plaintiff in the

above-captioned lawsuit. Pursuant to the terms of that settlement, Plaintiff agreed to seek the

dismissal of all claims asserted by Plaintiff or which could have been asserted by Plaintiff

against Defendants in this suit with prejudice. The parties hereby stipulate to the dismissal of

such claims with prejudice. It is Plaintiff’s intention to dismiss all claims against all Defendants.

        2.      The parties have further agreed that all costs, expenses and attorney’s fees are to

be borne by the party incurring same.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Arthur Greenstein and Defendant

The Travelers Home and Marine Insurance Company respectfully present this Stipulation and

request the Court dismiss this civil action with prejudice, with all costs, expenses and attorney’s

fees borne by the party incurring same, and for such other and further relief to which they may

be justly entitled.




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                                              Respectfully submitted,

                                                     /s/ Bryan Beverly (with permission)
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                                              ATTORNEYS FOR DEFENDANT



                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing pleading has been furnished
to Plaintiff’s counsel of record, via ECF in accordance with the Federal Rules of Civil Procedure,
this 28th day of May, 2015.


                                               /s/ Marcie L. Schout
                                              Marcie L. Schout
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